

People v Crosby (2021 NY Slip Op 03985)





People v Crosby


2021 NY Slip Op 03985


Decided on June 17, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 17, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., CARNI, LINDLEY, CURRAN, AND BANNISTER, JJ.


1196 KA 18-01066

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vJOHN CROSBY, DEFENDANT-APPELLANT. (APPEAL NO. 3.)






LINDA M. CAMPBELL, SYRACUSE, FOR DEFENDANT-APPELLANT. 
SCOTT D. MCNAMARA, DISTRICT ATTORNEY, UTICA (EVAN A. ESSWEIN OF COUNSEL), FOR RESPONDENT.


	Appeal from a judgment of the Oneida County Court (Michael L. Dwyer, J.), rendered October 13, 2017. The judgment convicted defendant upon a plea of guilty of assault in the second degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Crosby ([appeal No. 1] — AD3d — [June 17, 2021] [4th Dept 2021]).
Entered: June 17, 2021
Mark W. Bennett
Clerk of the Court








